          Case: 3:16-cv-00182-TMR Doc #: 1-6 Filed: 05/10/16 Page: 1 of 2 PAGEID #: 24

AO 440(Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                            for the
                                                  Southern District of Ohio


 Siemens Product Lifecycle Management Software,               )
                       Inc.                                   )
        5800 Granite Parkway, Suite 600                       )
              Plano, Texas 75024                              )
                           Plaint((s)                         )
                               v.                             )       Civil Action No. 3:16-cv-182
                                                              )
        Manufacturing Services International, Inc.            )
                15 West Dorothy Lane                          )
                 Dayton, Ohio 45429                           )
                                                              )
                          Defendant(s)                        )

                                               SUMMONS IN A CIVIL ACTION

To:(Defendant's name and address) Manufacturing Services International, Inc.
                                  c/o Christopher Cowan, Registered Agent
                                  12 West Monument Avenue, Suite 100
                                  Dayton, Ohio 45402




          A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Jeffrey T. Cox, Jade K. Smarda, FARUKI IRELAND & COX. P.L.L., 110 North Main
                                 Street, Suite 1600, Dayton, OH 45402
                                 and
                                 Robert R. Riddle, Andrew Bluebond, REED SMITH, LLP, 811 Main Street, Suite 1700,
                                 Houston, TX 77002-6110


       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                   Signature ofClerk or Deputy Clerk
           Case: 3:16-cv-00182-TMR Doc #: 1-6 Filed: 05/10/16 Page: 2 of 2 PAGEID #: 25


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Civil Action No. 3:16-cv-182

                                                 PROOF OF SERVICE
                  (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(1))

          This summons for (name ofindividual and title, ifany)     Manufacturing Services International, Inc.
 was received by me on (date)

              I personally served the summons on the individual at(place)
                                                                              on (date)                           ; or

              I left the summons at the individual's residence or usual place of abode with (name)
                                                               ,a person of suitable age and discretion who resides there,
           on (date)                             ,and mailed a copy to the individual's last known address; or

          CI I served the summons on (name ofindividual)                                                                   , who is
           designated by law to accept service of process on behalf of(name oforganization)
                                                                              on (date)                           ; or


              I returned the summons unexecuted because                                                                         ; or

           CI Other (specify):




           My fees are $                         for travel and $                 for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                          Server's signature



                                                                                      Printed name and title




                                                                                          Server's address


 Additional information regarding attempted service, etc:
